Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 1 of 16 PageID 56




               UNITED STATES DISTRICT COURT
     MIDDLE DISTRICT OF FLORIDA, JACKSONVILLE DIVISION

RAJESH VERMA, on behalf of
himself and all others similarly
situated,
                                           Case No. 22-cv-776-BJD-JBT
                   Plaintiff,
v.

WALDEN UNIVERSITY, LLC

                   Defendant.


PLAINTIFF’S MOTION FOR PARTIAL REMAND (FIRST CAUSE OF
ACTION) AND MEMORANDUM OF LAW IN SUPPORT OF MOTION

      Pursuant to 28 U.S.C. § 1447(c) and Art. III, § 2 of the Constitution,

Plaintiff, Rajesh Verma, respectfully moves to remand only his first cause of

action under 47 U.S.C. § 227(c) and the regulation issued thereunder found at

47 C.F.R. § 64.1200(d) because Defendant cannot meet its burden to show

Article III standing for that claim as Plaintiff did not plead that he asked

Defendant to stop calling, as required in the 11th Circuit to have standing for

a claim under § 64.1200(d).

                         MEMORANDUM OF LAW

      Plaintiff Rajesh Verma’s complaint under the Telephone Consumer

Protection Act (“TCPA”) pleads two causes of action. The first is that Defendant

Walden University (“Defendant”) failed to implement the policies and

                                       1
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 2 of 16 PageID 57




procedures required for honoring Do-Not-Call requests and maintaining an

internal Do-Not-Call list, in violation of § 227(c)(5) of the TCPA through 47

C.F.R. § 64.1200(d). The second is that Defendant placed telephone

solicitations to his telephone number which was on the National Do-Not-Call

registry at the time in violation of § 227(c)(5) of the TCPA through 47 C.F.R. §

64.1200(c).

      Defendant’s Notice of Removal establishes this Court’s jurisdiction for

the latter of these claims, stating that “Plaintiff has alleged a concrete injury

based on multiple calls and intangible harm”, and giving specific examples

from Plaintiff’s complaint, such as multiple calls occurring while Plaintiff’s

telephone number was on the National Do-Not-Call Registry. Plaintiff fully

agrees with Defendant’s position that Article III standing is present (and

removal was proper) for this second cause of action.

      But on removal, jurisdiction—including Article III standing—must be

established for all claims. As the party that invoked this Court’s jurisdiction,

Defendant bears the burden of establishing each element of federal subject-

matter jurisdiction. Under 11th Circuit precedent, for a plaintiff to have Article

III standing for claims related to a defendant’s failure to maintain an internal

do-not-call list, that plaintiff must plead that he asked the defendant to stop

and the calls continued. Plaintiff here did not so plead. Accordingly, as


                                        2
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 3 of 16 PageID 58




currently pled, Plaintiff does not have Article III standing for his claim under

§ 64.1200(d). Defendant has failed to establish anything to the contrary.

Accordingly, partial remand is mandated, and Plaintiff respectfully requests

that this Court remand his cause of action under 47 C.F.R. § 64.1200(d) to the

Circuit Court of the Fourth Judicial Circuit, Duval County pursuant to 28

U.S.C. § 1447(c).

   I.      PROCEDURAL AND FACTUAL BACKGROUND

        On June 6, 2022, Plaintiff Verma filed a putative class action complaint

under the TCPA in the Circuit Court of the Fourth Judicial Circuit, Duval

County. Therein, Plaintiff pled two causes of action: the first that Defendant

placed telemarketing calls to him in the absence of policies and procedures for

maintaining an internal do-not-call list, and the second that Defendant placed

telephone solicitations to his telephone number which was on the National Do-

Not-Call Registry. 47 C.F.R. § 64.1200(d) and § 64.1200(c).

        On July 14, 2022, Defendant Walden removed this matter to the Middle

District of Florida pursuant to 28 U.S.C. § 1441 on the basis of 28 U.S.C. § 1331

(Federal Question). [Dkt. No. 1.] In its Notice of Removal, Defendant wrote:

        Plaintiff has alleged a concrete injury based on multiple calls and
        intangible harm. According to Plaintiff, his telephone number “is
        registered to an individual and primarily used for personal, family, or
        household purposes” but “Defendant placed numerous calls for
        telemarking purposes to Plaintiff’s” telephone number. (Compl. ¶¶2
        (Factual Allegations); 11 (First Cause of Action).) Further, Plaintiff
        alleges the “calls spanned nearly ten months,” “were made without

                                           3
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 4 of 16 PageID 59




         Plaintiff’s prior express written consent, invitation, or permission,” and
         occurred while Plaintiff’s number was on the National Do-Not Call
         Registry. (Id. ¶¶ 13-14, 17 (Factual Allegations).) Accordingly, the
         Complaint establishes grounds for Article III standing.

On August 5, 2022, Defendant moved to dismiss the complaint for reasons

unrelated to Article III standing.

   II.      LEGAL ARGUMENT

         While Defendant appears content, for the time being, to allow this case

to proceed as if Article III standing were present for each claim, Article III

standing is not subject to waiver or forfeiture. See FW/PBS, Inc. v. City of

Dallas, 493 U.S. 215, 230-31 (1990) (“The federal courts are under an

independent obligation to examine their own jurisdiction, and standing ‘is

perhaps the most important of [the jurisdictional] doctrines.’”) (quoting Allen

v. Wright, 468 U.S. 737, 750 (1984)). If this issue is not raised and resolved

now, the Parties risk litigating for months (if not—hopefully not—years) only

for it to be decided that the Court is without subject-matter jurisdiction

because Plaintiff lacks Article III standing for one or both of his claims. This is

not only a risk to judicial and party economy, but it invites unnecessary

gamesmanship, where a party might choose to keep the Article III standing

issue in its back pocket until it sees which way the winds are blowing in a

particular court or before a particular judge. See, e.g. Dartell v. Tibet Pharms.,

Inc., Case No. 14-cv-3620, 2018 U.S. Dist. LEXIS 125643, *12 (D.N.J. July 27,


                                             4
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 5 of 16 PageID 60




2018) (expressing sympathy to plaintiff, but considering an Article III standing

objection brought six years after the case was filed).

       As the Supreme Court has stated, “the party invoking federal

jurisdiction bears the burden of establishing” the basis of that jurisdiction.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). In cases removed from state

court, then, the removing defendant must prove the federal court’s

jurisdiction. 1 Id.; see also Bowling v. United States Bank N.A., 963 F.3d 1030,

1034 (11th Cir. 2020) (“On a motion to remand, the removing party shoulders

the burden of establishing federal subject-matter jurisdiction.”); Steel Valley

Authority v. Union Switch and Signal Division, 809 F.2d 1006, 1010 (3d Cir.

1987)) citing Batoff v. State Farm Ins. Co., 977 F.2d 848, 851 (3d Cir. 1974);

Boyer v. Snap–On Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990), cert. denied,

498 U.S. 1085 (1991); Wilson v. Republic Iron & Steel Co., 257 U.S. 92 (1921)).

Parties cannot stipulate to or concede subject-matter jurisdiction because a

federal court has a special obligation to satisfy itself of its own jurisdiction.

Sosna v. Iowa, 419 U.S. 393, 398 (1975); see also Wright & Miller, 13 Fed. Prac.

& Proc. Juris. § 3522, Courts of Limited Jurisdiction (3d ed.) (“The parties



1 Removal of state court actions into federal court is governed by 28 U.S.C. § 1441, which
provides: “[g]enerally . . . any civil action brought in a State court of which the district courts
of the United States have original jurisdiction, may be removed by the defendant or the
defendants, to the district court of the United States for the district and division embracing
the place where such action is pending.” 28 U.S.C. § 1441(a).


                                                5
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 6 of 16 PageID 61




cannot confer on a federal court jurisdiction that has not been vested in that

court by the Constitution and Congress.”).

      To meet its burden, Defendant must establish that two requirements are

met: (1) that the claims asserted are within the judicial powers of the federal

court as defined by Article III, § 2 of the Constitution; and (2) Congress has

authorized the court to hear the claim in question. See Steel Co. v. Citizens for

a Better Environment, 523 U.S. 83, 89 (1998); see also Moore v. Olson, 368 F.3d

757, 760 (7th Cir. 2004) (“If Congress has authorized federal courts to resolve

particular claims, and if the claim presents a case or controversy within the

scope of Article III, then federal courts have subject-matter jurisdiction.”), cert.

denied, 543 U.S. 949 (2004). Standing is “an essential and unchanging part of

the case-or-controversy requirement of Article III”. Lujan 504 U.S. at 560.

“Article III standing is a prerequisite to a federal court’s exercise of subject-

matter jurisdiction.” J W v. Birmingham Bd. Of Educ., 904 F.3d 1248, 1264

(11th Cir. 2018); see also Hartig Drug Company Inc. v. Senju Pharmaceutical

Company, Ltd., 836 F.3d 261, 269 (3d Cir. 2016) (“Article III standing is

essential to federal subject matter jurisdiction.”).

      Article III standing requires the party invoking jurisdiction to prove

three elements:

          First, the plaintiff must have suffered an “injury in fact”—an
          invasion of a legally protected interest which is (a) concrete and
          particularized, and (b) actual or imminent, not conjectural or
                                          6
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 7 of 16 PageID 62




           hypothetical[.] Second, there must be a causal connection
           between the injury and the conduct complained of.... Third, it
           must be likely ... that the injury will be redressed by a favorable
           decision.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016); see also Friends of the

Earth, Inc. v. Laidlaw Envtl. Sys. (TOC), Inc., 528 U.S. 167, 180–81 (2000)

(same). Bock v. Pressler & Pressler, LLP, 658 Fed. Appx. 63, 64 (3d Cir. 2016)

(quoting Lujan, 504 U.S. at 560-61 (alterations in original)). In determining

whether Article III standing is present, courts look to the allegations in the

complaint. 2 See Salcedo v. Hanna, 936 F. 3d 1162, 1167 (11th Cir. 2019).

       Should Defendant fail to prove any element of subject-matter

jurisdiction, including Article III standing, for all of Plaintiff’s claims, the only

remedy is to remand the entire case to state court. 28 U.S.C. § 1447(c) (“If at

any time before final judgment it appears that the district court lacks subject

matter jurisdiction, the case shall be remanded.”); see Coccaro v. GEICO Gen.

Ins. Co., 648 Fed. Appx. 876, 881 (11th Cir. 2016) (citing and quoting Int’l

Primate Prot. League v. Administrators of Tulane Educ. Fund, 500 U.S. 72, 89

(1991) (“[T]he literal words of § 1447(c), . . . on their face, give . . . no discretion

to dismiss rather than remand an action. . . .)).




2Notably, even if Defendant were not required to prove Article III standing in its Notice of
Removal, it is indisputably Defendant’s burden to do so now. Mittenthal v. Fla. Panthers
Hockey Club, Ltd., 472 F. Supp. 3d 1211, 1222 (S.D. Fla. 2020).
                                             7
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 8 of 16 PageID 63




      While the above is Black Letter Law, the more interesting question is

what to do about a removed case where there is unequivocally standing for one

cause of action (Plaintiff’s claim based on the National Do-Not-Call Registry),

and unequivocally no standing for another (Plaintiff’s claim based on the

internal do-not-call policies and procedures). The proper answer appears to be

to remand the claim for which there is no subject-matter jurisdiction and retain

jurisdiction over the claim for which subject-matter jurisdiction is present and

removal was proper.

      This is because Supreme Court precedent requires courts to evaluate

each claim separately for subject-matter jurisdiction. See DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 352-53 (2006) (rejecting the notion that a “common

nucleus of operative facts” could supplant Article III requirements and

requiring “standing separately for each claim of relief sought”). A court cannot

exercise jurisdiction—supplemental or otherwise—over a claim that lacks

Article III standing. Id. at 351-52. Should standing be present for one claim

but not another, there appear to be two theoretical options: remand the entire

case, though the Court has subject-matter jurisdiction over one of the claims

and removal was proper for that claim, or remand only the claim over which

the Court lacks subject-matter jurisdiction and removal was improper for that

claim.


                                       8
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 9 of 16 PageID 64




      The Supreme Court has appeared to foreclose the former option, holding

that an “ordinary reading” of the remand statute suggests that remand is only

required when subject-matter jurisdiction is lacking over the entire case, and

that § 1447 could conceivably be read to provide for the remand of “a claim

within a case”. Wisconsin Department of Corrections, et. al. v. Schacht, 524 U.S.

381, 392 (1998). This makes logical sense. Courts lack power to remand

properly removed federal claims to state court. In re City of Mobile, 75 F.3d

605, 607-08 (11th Cir. 1996) (“[T]he district court must retain jurisdiction over

the properly removed federal claim.”). Just as a “common nucleus of operative

facts” cannot provide subject-matter jurisdiction for claims over which a court

would not otherwise have subject-matter jurisdiction, DaimlerChrysler, a

“common nucleus of operative facts” cannot remove subject-matter jurisdiction

from a claim over which a court would otherwise have subject-matter

jurisdiction. Similarly, if a court has no discretion to dismiss rather than

remand an improperly removed case, it presumably does not have the

discretion to dismiss rather than remand an improperly removed claim.

      Plaintiff has found only one court in this circuit to address this question

directly in the context of standing. This court found that the “lack of standing

for Count I does not require remand of the entire case—the Court need only

remand the claims over which it lacks jurisdiction.” Tarpon Transp. Servs. v.


                                        9
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 10 of 16 PageID 65




Total Quality Logistics, LLC, 2021 U.S. Dist. LEXIS 136574, *7-8 (M.D. Fla.

July 22, 2021). Other cases have found partial remand appropriate when the

count was, by statute, barred from removal. See, e.g. Johnston v. Morton Plant

Mease Healthcare, Inc., 2007 U.S. Dist. LEXIS 11700, *7-8 (M.D. Fla. Feb. 20,

2007) (remanding a single count over which the court was deprived of

jurisdiction by statute).

      Partial remand appears to be the consensus outside of this District and

Circuit. See, e.g. Lee v. American Nat. Ins. Co., 260 F.3d 997, 1002, 1007 (9th

Cir. 2001) (holding that “a district court may not under § 1447(c) remand a case

in its entirety where there is subject matter jurisdiction over some portion of

it” and that “[a] case that is properly removed in its entirety may nonetheless

be effectively split up when it is subsequently determined that some claims

cannot be adjudicated in federal court.”); Hughes v. City of Cedar Rapids, 840

F.3d 987, 993 (8th Cir. 2016) (partially remanding a case for lack of Article III

standing); Berquist v. Mann Bracken, LLP, 592 F.3d 816, 819 (7th Cir. 2010)

(“If some parts of a single suit are within federal jurisdiction, while others or

not, then the federal court must resolve the elements within federal

jurisdiction and remand the rest[.]”); Am. Capital Acquisitions Partners LLC

v. Fortigent LLC, 595 Fed. App’x 113 (3d Cir. 2014) (successful standing

challenge to one claim did not warrant remand of other claims);Shaw v.


                                       10
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 11 of 16 PageID 66




Marriott Intern., Inc., 603 F.3d 1039, 1044 (D.C. Cir. 2010) (rejecting plaintiff’s

argument for remand of entire case and stating that “[t]he federal court may

hear the claims for which federal jurisdiction exists); Moriarty v. Am. Gen. Life

Ins. Co., 2022 U.S. Dist. LEXIS 133021, *17-18 (S.D. Cal. July 26, 2022)

(finding partial remand to be proper); California v. N. Tr. Corp., 2013 U.S. Dist.

LEXIS 53155 (C.D. Cal. Apr. 10, 2013) (same); Santiago v. City of Chicago,

2022 U.S. Dist. LEXIS 63108, *19-20 (N.D. Ill. Apr. 5, 2022) (same).

      While this might seem superficially unfair to Defendant, this is a risk for

the removing party to consider prior to removing a case where the Plaintiff’s

Article III standing is questionable. Reyes v. Checksmart Fin., LLC, 701 F.

App’x 655, 660 (9th Cir. 2017) (Bencivengo, J., concurring in part). It is also

preferable to the alternative, which would “enabl[e] defendants to prevent

plaintiffs from seeking relief for which they have standing in state court, but

not under Article III, by removing the entire case.” Id.

      a. Plaintiff’s § 64.1200(c) claim: Defendant Carried Its Burden of
         Demonstrating Federal Jurisdiction Under Article III, § 2 of
         the Constitution.

      In Defendant’s Notice of Removal, it states the following:

      Plaintiff has alleged a concrete injury based on multiple calls and
      intangible harm. According to Plaintiff, his telephone number “is
      registered to an individual and primarily used for personal, family, or
      household purposes” but “Defendant placed numerous calls for
      telemarking purposes to Plaintiff’s” telephone number. (Compl. ¶¶2
      (Factual Allegations); 11 (First Cause of Action).) Further, Plaintiff
      alleges the “calls spanned nearly ten months,” “were made without

                                        11
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 12 of 16 PageID 67




      Plaintiff’s prior express written consent, invitation, or permission,” and
      occurred while Plaintiff’s number was on the National Do-Not Call
      Registry. (Id. ¶¶ 13-14, 17 (Factual Allegations).) Accordingly, the
      Complaint establishes grounds for Article III standing.

Indeed, Plaintiff pleads he received from Defendant at least 16 calls, despite

his number being on the National Do-Not-Call Registry. Under 11th Circuit

precedent, this is sufficient for Article III standing. Cordoba v. DIRECTV,

LLC, 942 F.3d 1259, 1270 (11th Cir. 2019) (“The receipt of more than one

unwanted telemarketing call made in violation of the provisions enumerated

in the TCPA is a concrete injury that meets the minimum requirements of

Article III standing.”); see also Glasser v. Hilton Grand Vacations Co., 948 F.3d

1301, 1306 (11th Cir. 2020) (same). And the injury that § 64.1200(c) was meant

to remedy—unwanted telephone solicitations to persons who made clear their

numbers were not to be solicited—is traceable to Defendant’s actions of calling

such a number. Accordingly, Plaintiff’s allegations are sufficient to establish

Article III standing with respect to Plaintiff’s claim for telephone solicitations

to numbers on the National Do-Not-Call Registry. The Court has jurisdiction

over this claim (Count II).

      b. Plaintiff’s § 64.1200(d) claim: Walden Failed to Carry Its
         Burden of Demonstrating Federal Jurisdiction Under Article
         III, § 2 of the Constitution.

      While the Complaint’s allegations are sufficient for Article III standing

with respect to Plaintiff’s § 64.1200(c) claim, the same is not so for Plaintiff’s §


                                          12
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 13 of 16 PageID 68




64.1200(d) claim, which alleges that Defendant made telemarketing calls to

his telephone number without maintaining the required policies and

procedures for internally honoring this request. The 11th Circuit has directly

addressed what is necessary for Article III standing for a § 64.1200(d) claim

and found that only persons who received calls after asking the caller to stop

can bring a claim under § 64.1200(d). Cordoba, 942 F.3d at 1272. 3 In other

words, a person might have received an unwanted telemarketing call, but until

they say stop, that injury is not traceable to a caller’s lack of an internal do-

not-call policy, because that policy (or lack thereof) was never triggered.

Nowhere in Plaintiff’s operative complaint does he plead that he asked

Defendant to stop calling. Accordingly, under Cordoba, Plaintiff lacks Article

III standing for this claim (Count I) and this claim must be remanded.

       None of this is to say that Plaintiff could not amend his complaint to

plead the elements necessary for Article III standing for his § 64.1200(d) claim.

But Congress has authorized state courts to hear claims under the TCPA. See

47 U.S.C. § 227(b)(3) (“A person or entity may, if otherwise permitted by the

laws or rules of Court of a State, bring in an appropriate court of that State…).


3Plaintiff respectfully disagrees with this ruling. Requiring a plaintiff to prove that they
asked a caller to “stop” calling in order to have standing to bring a claim that the caller did
not track requests to stop calling allows a caller to avoid liability for its actions by doing the
very thing the statute prohibits. If anything, this spoliation-adjacent tactic, and its impact
on a Plaintiff’s ability to represent their own claims or to bring a class claim, constitute injury,
and these impacts are traceable to a defendant’s failure to keep records. Nevertheless,
Cordoba remains binding precedent.
                                                 13
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 14 of 16 PageID 69




Therefore, Plaintiff, as “the master of his complaint … may opt to sue in State

court.” Davis v. Yates, Case No. 15-cv-6943, 2016 U.S. Dist. LEXIS 94719 at *3

(D.N.J. July 20, 2016). Plaintiff chose to do so. Since Florida does not follow

Article III, Article III standing concerns were not considered in the drafting of

the complaint and Article III standing elements were not required to be pled.

As the Florida Supreme Court wrote:

      Unlike the federal courts, Florida's circuit courts are tribunals of
      plenary jurisdiction. Art. V, § 5, Fla. Const. They have authority
      over any matter not expressly denied them by the constitution or
      applicable statutes. Accordingly, the doctrine of standing certainly
      exists in Florida, but not in the rigid sense employed in the federal
      system.

Dep’t of Revenue v. Kuhnlein, 646 So. 2d 717, 720 (1994). Accordingly,

Plaintiff’s silence on issues that might be relevant to Article III standing for §

64.1200(d) claim is not intended to indicate anything other than Plaintiff filed

his complaint in state court, intended to remain in state court, and did not need

to tailor his complaint to Article III standing issues relevant only to Federal

Court.

   III.   CONCLUSION

      Defendant has not shown and cannot show that this Court has Article

III jurisdiction over Plaintiff’s § 64.1200(d) claim as pled and, therefore, as the

removing party, has not met its burden of establishing that federal jurisdiction

is proper for that claim. Accordingly, Plaintiff respectfully requests that this


                                        14
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 15 of 16 PageID 70




Court remand Plaintiff’s § 64.1200(d) claim (First Cause of Action) to state

court pursuant to 28 U.S.C. § 1447(c).

Dated: August 12, 2022                    /s/ Eric W. Kem
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                                         15
Case 3:22-cv-00776-BJD-JBT Document 13 Filed 08/12/22 Page 16 of 16 PageID 71




                 LOCAL RULE 3.01(g) CERTIFICATION

      I certify that I have conferred with counsel for Defendant via email and
telephone, who opposes the request in the instant Motion.

Dated: August 12, 2022                   /s/ Eric W. Kem
                                         Eric W. Kem


                        CERTIFICATE OF SERVICE

      I certify that on August 12, 2022, I electronically filed the foregoing with
the Clerk of Court by using the Cm/ECF system, which will send notice of
electronic filing to counsel of record.

Dated: August 12, 2022                   /s/ Eric W. Kem
                                         Eric W. Kem




                                        16
